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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT LLC, and
 ELLIOTT BROIDY,
                                                         Civil Action No.: 1:19-cv-00150 (DLF)
                              Plaintiffs,

                       v.

  NICOLAS D. MUZIN, JOSEPH ALLAHAM,
  GREGORY HOWARD, and STONINGTON
  STRATEGIES LLC,

                              Defendants.

                   [PROPOSED] ORDER GRANTING MOTION FOR
                  ADMISSION PRO HAC VICE OF JACOB GARDENER

       AND NOW, upon consideration of the Motion for Admission Pro Hac Vice of Jacob

Gardener in the above-captioned action, it is hereby ORDERED that the Motion is GRANTED.

Jacob Gardener is hereby admitted pro hac vice to appear and practice in this Court in the above-

captioned action as counsel for Defendant Gregory Howard.




Dated: _________________________                           _________________________
                                                           Hon. Dabney Friedrich
                                                           United States District Judge




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